
68 N.Y.2d 981 (1986)
The People of the State of New York, Appellant,
v.
Everett McCready, Respondent.
Court of Appeals of the State of New York.
Decided November 20, 1986.
Concur: Chief Judge WACHTLER and Judges MEYER, SIMONS, KAYE, ALEXANDER, TITONE and HANCOCK, JR.
On review of submissions pursuant to section 500.4 of the Rules of the Court of Appeals (22 NYCRR 500.4), appeal dismissed upon the ground that the reversal by the Appellate Division was not "on the law alone or upon the law and such facts which, but for the determination of law, would not have led to reversal" (CPL 450.90 [2] [a]). The reversal, while termed one "on the law", was necessarily a determination by the Appellate Division of a mixed question of law and fact.
